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                                                                   Tuesday, 25 June, 2019 06:51:40 PM
                                                                         Clerk, U.S. District Court, ILCD


                          UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF ILLINOIS
                                URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
vs.                                       )       Crim. No. 17-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

 MOTION IN LIMINE TO PRECLUDE THE GOVERNMENT FROM REPLAYING
       THE RECORDINGS FROM THE VIGIL WALK IN PENALTY

       NOW COMES the Defendant, BRENDT A. CHRISTENSEN, by and through his

attorneys, and for his Motion in Limine to Preclude the Government From Replaying the

Vigil Walk Tape in the Penalty Phase states as follows:

       It is a long-standing principle that capital cases should not be decided on

emotion or caprice. As stated in Gardner v. Florida, 430 U.S. 349, 357-58 (1977):

              From the point of view of society, the action of the sovereign
              in taking the life of one of its citizens also differs
              dramatically from any other legitimate state action It is of
              vital importance to the defendant and to the community that
              any decision to impose the death sentence be, and appear to
              be, based on reason rather than caprice or emotion.

       By far the most disturbing piece of evidence in the government’s case is the

recording made by Terra Bullis on June 29, 2017, during which Mr. Christensen makes

several graphic and detailed statements about how he killed Ms. Zhang. These


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statements include representations of choking, stabbing, and decapitation. However,

other than these statements, there is no evidence that the murder was committed in this

manner. In fact, there are several demonstrably false statements also made by Mr.

Christensen that night, including the allegation that he murdered twelve other people,

including another Chinese woman, in the past. The government has acknowledged that

there is no evidence whatsoever that these murders took place, despite lengthy and

intense investigation.

       Although obviously relevant to establishing Mr. Christensen’s responsibility for

the murder and his state of mind at the time, the manner in which he describes the

murder is extremely prejudicial. At the guilt phase of the trial, the defense believed it

would be frivolous to attempt to exclude the recording since it constituted evidence of

Mr. Christensen’s admission of guilt. However, it could not have anticipated that the

government would play the most egregious portions of the tape not once, but twice,

through the testimony of Special Agent Huckstadt and again through Ms. Bullis.

       As we approach the penalty phase of this trial, it is clear that the probative value

of this evidence is now outweighed by the prejudicial effect that it would have on the

jury to hear this recording for a third time. Hearing those inflammatory statements yet

again will prevent or substantially impair the ability of jurors to consider and weigh

evidence in mitigation.

       In United States v. Con-Ui, 13-cr-123 (M.D.Pa.), the district court faced a similar

issue when the government wished to present a video recording of the murder of a

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correctional officer. As in this case, it was the centerpiece of the government’s case and

showed disturbing images including the officer being kicked down a set of stairs,

stabbed over 200 times, and depicted his suffering. Although declining to exclude the

video in its entirety due to its importance to the government’s case, the district court did

limit the viewing of the video by the jury to one occasion. The court stated that

“although I agree that the video is highly relevant in light of the statutory aggravating

factors set out in the government’s notice of intent, a second showing of the video

would constitute merely ‘a graphic depiction of an event that had already been

thoroughly proven.’ United States v. Bailey, 840 F.3d 99, 122 (3d Cir. 2016). More

importantly, the standard governing admission of evidence at the penalty phase is

different. The FDPA is more restrictive than Rule 403.” Memorandum by Judge Caputo,

R. 984 (attached hereto as Exhibit A).

       In the present case, the jury has already heard the recording of the Vigil Walk

two separate times, and has heard specific portions of the video be emphasized through

witness testimony. To allow a third playing of the recording during the penalty phase

would be more prejudicial than probative and the Court should bar any additional

display.

       WHEREFORE, Defendant requests that the relief requested in the Motion be

granted.




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             Respectfully submitted,

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                              CERTIFICATE OF SERVICE

      I hereby certify that on June 25, 2019, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system which will send notification of such filing

to Assistant United States Attorneys Bryan D. Freres and Eugene L. Miller and Trial

Attorney James B. Nelson. A copy was also mailed to the defendant.

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